     Case 8:19-cv-01276-JVS-MRW Document 42 Filed 01/21/20 Page 1 of 1 Page ID #:244



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 8                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
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10
       ANDREW ELLIOTT, individually and )               Case No.
11     on behalf of all others similarly situated,
                                                   )
12     Plaintiff,                                  )    8:19-cv-01276-JVS-MRWx
                                                   )
13            vs.                                       ORDER TO DISMISS WITH
                                                   )
14                                                 )    PREJUDICE AS TO PLAINTIFF
       LOANDEPOT.COM, LLC, and DOES )                   AND WITHOUT PREJUDICE AS
15     1 through 10, inclusive, and each of
       them,                                       )    TO CLASS CLAIMS.
16
                                                   )
17     Defendants                                  )
                                                   )
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                                                   )
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             IT IS HEREBY ORDERED that pursuant to the Stipulation of the Parties,
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       this matter is dismissed in its entirety with prejudice as to the named Plaintiff, and
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       without prejudice as to the Putative Class alleged in the complaint, pursuant to
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       Federal Rule of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear their own
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       costs and attorneys’ fees.
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26     Dated: January 21, 2020
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                                         _______________________________
                                          Honorable Judge of the District Court
                                            Order to Dismiss - 1
